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                 EXHIBIT C
Sattam | Elite Trader
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                                                Sattam
                                                Male, 42, from Overseas
                                                Forget TopStepTrader.... take a look at this: Sep 2, 2015

                                                Sattam was last seen: Sep 6, 2015

                                                      Profile Posts          Recent Activity        Posts       Information



                                                              Sattam Forget TopStepTrader.... take a look at this:

                                                              Sep 2, 2015
   Last Activity:             Sep 6, 2015
   Joined:                     Jul 9, 2015
   Posts:                               32
   Likes:                                0                    Sattam I don't know if swing trading is better than daily. Guys please
                                                              put the case.
                                                              Jul 10, 2015
      Followers                        1



                                                              Sattam PNL today -$12,500 bought the ES midday I seriously need
                                                              help! I can't take it no more! Lost over $1m in 3 years. Any advise top
                                                              traders?
                                                              Jul 9, 2015
   Gender:                      Male
   Birthday:   Feb 25, 1975 (Age: 42)
   Location:               Overseas
   Occupation:         Nothing really




   Forums           Members        Sattam




https://www.elitetrader.com/et/members/sattam.489048/[6/24/2017 3:07:19 PM]
Sattam | Elite Trader
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                                                Sattam
                                                Male, 42, from Overseas
                                                Forget TopStepTrader.... take a look at this: Sep 2, 2015

                                                Sattam was last seen: Sep 6, 2015

                                                      Profile Posts        Recent Activity          Posts       Information


                                                About

                                                  Gender:                       Male
   Last Activity:             Sep 6, 2015
   Joined:                     Jul 9, 2015        Birthday:                     Feb 25, 1975 (Age: 42)
   Posts:                               32
   Likes:                                0        Location:                     Overseas
                                                  Occupation:                   Nothing really
      Followers                        1
                                                  I keep losing money and need real help... If you think you can help then kindly
                                                  e-mail me @ sattam@miseel.com

                                                Interact

   Gender:                      Male
                                                  Content:                      Find all content by Sattam
   Birthday:   Feb 25, 1975 (Age: 42)                                           Find all threads by Sattam
   Location:               Overseas
   Occupation:         Nothing really




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